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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:05CR242
                                            )
             Plaintiff,                     )
                                            )                    ORDER
             vs.                            )
                                            )
MARISOL PEREZ-FERNANDEZ,                    )
                                            )
             Defendant.                     )

      This matter is before the Court on the Plaintiff’s oral motion to continue the

sentencing hearing in this matter. The Defendant has no objection. The Court finds good

cause to grant the continuance. Accordingly,

      IT IS ORDERED:

      1.     Plaintiff’s oral motion to continue the sentencing hearing is granted; and

      2.     Defendant’s Sentencing Hearing which had been scheduled for November

             21, 2005, is now rescheduled to Monday, December 12, 2005, at 9:30 a.m.



      DATED this 18th day of November, 2005.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                Laurie Smith Camp
                                                United States District Judge
